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              IN THE UNITED STATES COURT OF FEDERAL CLAIMS



BITMANAGEMENT SOFTWARE GMBH,                       Case No. 16-840 C

                           Plaintiff,              Senior Judge Edward J. Damich

      v.

THE UNITED STATES OF AMERICA,

                           Defendants.




                 PLAINTIFF’S NOTICE REGARDING REDACTIONS

      Plaintiff Bitmanagement Software GmbH proposes no redactions to the Court’s

September 9, 2019 sealed Opinion and Order (ECF No. 128).




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Dated: September 20, 2019    Respectfully submitted,

                             /s/ Brent J. Gurney
                             Brent J. Gurney
                             Adam Raviv
                             Leon Kenworthy
                             Michael Carpenter
                             Wilmer Cutler Pickering Hale and Dorr LLP
                             1875 Pennsylvania Ave., N.W.
                             Washington, D.C. 20006
                             Telephone: (202) 663-6000
                             Facsimile: (202) 663-6363
                             Email: brent.gurney@wilmerhale.com
                                     adam.raviv@wilmerhale.com
                                     leon.kenworthy@wilmerhale.com
                                     michael.carpenter@wilmerhale.com

                             Allison Trzop
                             Wilmer Cutler Pickering Hale and Dorr LLP
                             7 World Trade Center
                             250 Greenwich Street
                             New York, NY 10007
                             Telephone: (212) 230-8800
                             Facsimile: (212) 230-8888
                             Email: allison.trzop@wilmerhale.com

                             Kevin Goldman
                             Wilmer Cutler Pickering Hale and Dorr LLP
                             60 State Street
                             Boston, MA 02109
                             Telephone: (617) 526-6000
                             Facsimile: (617) 526-5000
                             Email: kevin.goldman@wilmerhale.com

                             Counsel for Plaintiff Bitmanagement Software GmbH




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